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JURY VERDICT SHEET NY Rely Nor

Do you unanimously find, by a preponderance of the evidence, the following:

1. Did DeShawn Drumgo prove that William Kuschel committed an act that
violated Mr. Drumgo’s Eighth Amendment rights?

Yes___ No
If your answer is Yes, go to question 2.
If your answer is No, go to the Final Instruction (page 3).

2. Did DeShawn Drumgo prove he suffered injuries as a result of William
Kuschel’s act?

Yes No x

If your answer is Yes, go to question 3.

If your answer is No, check here ><__to award Mr. Drumgo nominal
damages of $1.00 and go to question 5.

3. Please state the amount, if any, that will fairly compensate DeShawn Drumgo
for any injury he actually suffered as a result of William Kuschel’s violation
of Mr. Drumgo’s Eighth Amendment rights.

$
(fill in dollar figure)

After completing question 3, go to question 4.

4. Did William Kuschel act maliciously or wantonly in violating DeShawn
Drumgo’s Eighth Amendment rights?

Yes No

If your answer is Yes, go to question 5.
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If your answer is No, go to the Final Instruction (page 3).

5. Do you wish to award punitive damages against William Kuschel?

Yes XK No_

If your answer is Yes, fill in the amount of punitive damages you wish to
award below.

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If your answer is NO, go to the Final Instruction (page 3).
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Final Instruction

When you have completed the necessary questions above, you should review
it to ensure that it accurately reflects your unanimous determinations. The
Foreperson should then sign and date the verdict form in the spaces below and let
the Court Security Officer know that you have reached a verdict. The Foreperson
shall retain possession of the verdict form and bring it to the courtroom with the jury.

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So say we all this / Ady \ __day of Lieom be 2021.

Foreperson

he M4 202 /
Date UNITED STATES DISTRICT COURT JUDGE

